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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                     RENO, NEVADA

DR. LARS JENSEN,                          )       3:22-cv-00045-ART-CLB
                                          )
                      Plaintiff(s),       )       MINUTES OF PROCEEDINGS
                                          )
vs.                                       )       DATE: June 8, 2022
                                          )
DR. NATALIE BROWN, et al.,                )
                                          )
                      Defendant(s).       )
                                          )

PRESENT:         THE HONORABLE CARLA BALDWIN,                  U.S.MAGISTRATE JUDGE

Deputy Clerk:           Lisa Mann          Court Reporter:      Liberty Recorder

Counsel for Plaintiff(s):     John Nolan, Mark Mausert, and Michael Langton

Counsel for Defendant(s): Kiah Beverly-Graham and John Albrecht

PROCEEDINGS: VIRTUAL MOTION HEARING

9:03 a.m. Court convenes.

       The Court notes the purpose of this hearing is to address the Defendants’ Motion

to Stay Discovery (ECF No. 24).

       The Court further notes that when considering a motion to stay discovery, the Court

is obligated to take a preliminary peek at the motion to dismiss. However, in this instance,

the motion to dismiss was not fully briefed prior to the motion to stay discovery being fully

briefed. Therefore, the Court directs that counsel refrain from filing documents in this

manner in the future.

       Having heard from counsel and good cause appearing, the Court finds that
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counsel shall meet and confer to determine a plan to delineate discovery narrowing what

discovery shall proceed first in this case. The Court suggests that counsel first conduct

limited written discovery regarding the state law claims and then proceed to depositions.

The Court advises that the parties shall be allowed three hundred sixty (360) days from

today’s date to complete discovery. In addition, the Court advises that it is amenable to

granting future extensions of discovery, if warranted. Therefore, Defendants’ Motion

to Stay Discovery (ECF No. 24) is DENIED.

      The Court advises that today, it will issue an Order to File Case Management

Report. The Court further advises that a Virtual Case Management Conference will be

scheduled in this case.

IT IS SO ORDERED.

9:26 a.m. Court adjourns.

                                                DEBRA K. KEMPI, CLERK


                                                By:           /s/
                                                      Lisa Mann, Deputy Clerk
